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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MARISA CLOUTIER BRISTOL,

        Plaintiff,

 v.
                                                          C.A. No. 1:19-cv-10179-PBS
 WOMEN & INFANTS HOSPITAL OF
 RHODE ISLAND,

       Defendant.


                              STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the parties to the

above-captioned matter hereby stipulate that this action be dismissed with prejudice, without

costs, and all rights of appeal being waived.



 The Plaintiff,                             The Defendants,
 Marissa Cloutier Bristol,                  Women & Infants Hospital of Rhode Island,
 By her Attorneys,                          By its attorneys,

 /s/ Jeffrey N. Catalano                    /s/ Angela L. Carr
 Jeffrey N. Catalano, Esq.                  Angela L. Carr | B.B.O. No. 665795
 Maria T. Davis, Esq.                       acarr@bglaw.com
 Todd & Weld, LLP                           Jenna R. Trott | B.B.O. No. 684696
 One Federal Street, 27th Floor             jtrott@bglaw.com
 Boston, MA 02110                           BARTON GILMAN LLP
 (617) 720-2626 | (617) 227-5777 – Fax      75 Federal Street, 9th Floor
                                            Boston, MA 02110
                                            617.654.8200 | 617.482.5350 – Fax
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                             CERTIFICATE OF SERVICE

       I, Jenna R. Trott, hereby certify that on March 23, 2020, I served a copy of the
foregoing by regular mail and electronic mail to:

Jeffrey N. Catalano, Esq.
Maria T. Davis, Esq.
Todd & Weld, LLP
One Federal Street, 27th Floor
Boston, MA 02110


                                                  /s/ Jenna R. Trott
                                                  Jenna R. Trott
